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 2
                           UNITED STATES DISTRICT COURT
 3
                                 DISTRICT OF NEVADA
 4
     JOSHUA BACHARACH,                              Case No. 3:22-cv-00122-ART-CSD
 5
                                  Petitioner,                  ORDER
 6         v.
 7   WILLIAM REUBART, et al.,
 8                            Respondents.
 9
           Petitioner having filed an unopposed motion for extension of time (second
10
     request) (ECF No. 21), and good cause appearing;
11
           It is therefore ordered that Petitioner’s unopposed motion for extension of
12
     time (second request) (ECF No. 21) is granted. Petitioner will have up to and
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     including January 30, 2023, to file his second amended petition.
14
           DATED THIS 2nd day of December 2022.
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18                                        ANNE R. TRAUM
                                          UNITED STATES DISTRICT JUDGE
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